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               Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION


 BRITTNEY GOBBLE PHOTOGRAPHY,
 LLC,                                                  Case No. 1:18-cv-03403-RDB (Lead Case)

                          Plaintiffs,                  Case No. 1:18-cv-03384-RDB
                                                       Case No. 1:19-cv-00559-RDB
                         v.                            Case No. 1:19-cv-00606-RDB

 SINCLAIR BROADCAST GROUP, INC.,
 et al.,

                          Defendants/Third-
                          Party Plaintiffs,
                                                               JURY TRIAL DEMANDED
                          v.

 USA ENTERTAINMENT NEWS, INC.
 d/b/a “WENN” and “WORLD
 ENTERTAINMENT NEWS NETWORK,”

                         Third-Party Defendant.



              NOTICE OF VIDEO TAPED DEPOSITION OF CORPORATE
         DESIGNEE OF DEFENDANT SINCLAIR BROADCASTING GROUP, INC.
         Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

the deposition of the Corporate Designee of Sinclair Broadcasting Group, Inc. (“SBG”) will be

taken on Wednesday, July 31, 2019 at 9:00 a.m., continuing from day to day through and

including, Friday, August 2, 2019, at 1 N. Charles St., Suite 1301, Baltimore, MD 21201, and

then on Monday, August 5, 2019 at 601 Pennsylvania Avenue NW, South Tower, Suite 700,

Washington, DC 20004, and/or until termination of the deposition by undersigned counsel, for

the purpose of discovery or as evidence in this action, before a notary public or some officer

authorized to administer oaths. Such deposition will be recorded by videotape and stenographic

means.



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       The corporate deponent is required to designate one or more officers, directors, or

managing agents or other persons, who will testify on its behalf and who will be prepared to

identify the matters about which that person will testify with respect to the Topics listed in the

attached Appendix A.

                                                 Respectfully submitted,

 July 17, 2019                                    By: /s/ Robert E. Allen

                                                  C. Justin Brown
                                                  Maryland State Bar No. 28110
                                                  brown@cjbrownlaw.com
                                                  Brown Law Firm
                                                  1 N. Charles St., Suite 1301
                                                  Baltimore, Maryland 21201
                                                  Telephone: (410) 244-5444
                                                  Facsimile: (410) 934-3208

                                                  C. Dale Quisenberry (admitted pro hac vice)
                                                  Texas State Bar No. 24005040
                                                  dale@quisenberrylaw.com
                                                  Quisenberry Law PLLC
                                                  13910 Champion Forest Drive, Suite 203
                                                  Houston, Texas 77069
                                                  Telephone: (832) 680-5000
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                                                  Robert E. Allen (admitted pro hac vice)
                                                  Cal State Bar No. 166589
                                                  rallen@piercebainbridge.com
                                                  Pierce Bainbridge Beck Price & Hecht LLP
                                                  355 S. Grand Avenue, 44th Floor
                                                  Los Angeles, CA 90071
                                                  Telephone: (213) 516-8351

                                                  Counsel for Brittney Gobble Photography LLC




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                                            APPENDIX A

                                           DEFINITIONS

        The following definitions are incorporated by reference into each Interrogatory below:

        A.      “Plaintiff,” “Defendant” as well as a party’s full or abbreviated name or a pronoun

referring to a party, means the party and, where applicable, its officers, directors, employees,

partners, corporate parent, subsidiaries or affiliates.

        B.      “BGP” means, individually and collectively, Brittney Gobble Photography LLC

and all of its agents and representatives, including, without limitation, Brittney Gobble and Johnny

Gobble.

        C.      “SBG” means Sinclair Broadcasting Group, Inc.

        D.      “Stations” means each of the defendants in the consolidated action, other than SBG.

        E.      “Tennessee Lawsuit” means BGP’s copyright infringement action against WENN

in the Eastern District of Tennessee, Case No. 3:16-cv-306.

        F.      “WENN” means USA Entertainment News, Inc., d/b/a “WENN” and “World

Entertainment News Network” and WENN Limited, each named as a defendant in the Tennessee

Lawsuit.

        G.      “Gross Receipts” means all amounts, fees, or other consideration received by, or

paid or credited in any way to SBG and/or the Stations.

        H.      “Images” means, individually and collectively, the photographs specified in

paragraph 82 of the First Amended Complaint.

        I.      “Infringing Materials” means, individually and collectively, any Document that

includes, embodies, uses, reproduces, displays publicly or otherwise exploits any of the Images,

including, without limitation, digital files, webpages, advertisements or other materials.




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       J.      “Communication” means the transmittal of information (in the form of facts, ideas,

inquiries, or otherwise).

       K.      “Document” is defined to be synonymous in meaning and equal in scope to the

usage of this term in Fed. R. Civ. P. 34(a). A draft or non-identical copy is a separate document

within the meaning of this term.

       L.      “Identify” or “the identity of” (with respect to Persons) means to give, to the extent

known, the person’s full name, present or last known address, and, when referring to a natural

person, the present or last known place of employment.

       M.      “Identify” or “the identity of” (with respect to Entities) means to give the Entity’s

full name and principal place of business.

       N.      “Identify” or “the identity of” (with respect to documents) means to give, to the

extent known, the (a) type of document; (b) general subject matter; (c) date of the document; and

(d) author(s), addressee(s), and recipient(s).

       O.      “Person” or “Entity” is defined as any natural person or any business, legal, or

governmental entity or association.

       P.      “Concerning” means referring to, describing, evidencing, or constituting.

       Q.      The words “and” and “or” shall be construed conjunctively or disjunctively, in the

manner which makes the request most inclusive.




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                                          APPENDIX A

                                TOPICS FOR EXAMINATION

              The factual bases for all allegations contained in SBG’s Answer and Affirmative

Defenses to BGP’s Complaint and First Amended Complaint in the district court litigation (1:18-

CV-03403-RDB).

              SBG’s responses and objections to BGP’s discovery requests, including BGP’s

First Set of Interrogatories and First Set of Requests for Production to SBG and to the Stations.

              SBG’s policy, practice and custom with respect to preserving and storing

Documents and Communications, including all electronic documents and emails.

              SBG’s knowledge of the retention, organization, collection, preservation, and

production of documents relevant to BGP’s allegations in its Complaint and First Amended

Complaint and SBG’s Answer thereto, including the Documents produced in response to BGP’s

First Request for the Production of Documents.

              How and where SBG stores emails, electronic data, hard copy documents, other

electronic documents, and other sources used to store any information relevant to the claims and

defenses of SBG and BGP.

              SBG’s collection, preservation and production of Documents and Communications

in this case, consistent with its obligations under Rule 26 of the Federal Rules of Civil Procedure

from and in response to the following events: (a) email exchange between Brittney Gobble and

Scott Sistek on or about November 8, 2015; (b) receipt of the “kill notice” from WENN on or

about November 13, 2015; (c) receipt of the subpoena from BGP in the Tennessee Lawsuit on or

about September 25, 2017; (d) filing of the Complaint against certain of the Stations in the District

of Delaware, Case No. 1:18-cv-01720 on October 31, 2018; (e) filing of the Complaint against



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certain of the Stations in the District of Maryland, Northern Division, Case No. 1:18-cv-03384

on October 31. 2018; (f) filing of the Complaint against certain of the Stations in the District of

Nevada, Case No. 2:18-cv-02096 on November 1, 2018; (g) filing of the Complaint against SBG

in the District of Maryland, Northern Division, Case No. 1:18-cv-03403 on November 2. 2018;

and (h) in response to BGP’s First Request Set of Interrogatories and BGP’s First Request for the

Production of Documents, served on December 31, 2018.

              Litigation hold notices SBG sent to its employees and other custodians of relevant

Documents and Communications from and in response to the following events: (a) email

exchange between Brittney Gobble and Scott Sistek on or about November 8, 2015; (b) receipt

of the “kill notice” from WENN on or about November 13, 2015; (c) receipt of the subpoena from

BGP in the Tennessee Lawsuit on or about September 25, 2017; (d) filing of the Complaint

against certain of the Stations in the District of Delaware, Case No. 1:18-cv-01720 on October

31, 2018; (e) filing of the Complaint against certain of the Stations in the District of Maryland,

Northern Division, Case No. 1:18-cv-03384 on October 31. 2018; (f) filing of the Complaint

against certain of the Stations in the District of Nevada, Case No. 2:18-cv-02096 on November

1, 2018; (g) filing of the Complaint against SBG in the District of Maryland, Northern Division,

Case No. 1:18-cv-03403 on November 2. 2018; and (h) in response to BGP’s First Request Set

of Interrogatories and BGP’s First Request for the Production of Documents, served on December

31, 2018.

              Actions taken (including, without limitation, investigations, notices and change of

policies) from and in response to the following events: (a) email exchange between Brittney

Gobble and Scott Sistek on or about November 8, 2015; (b) receipt of the “kill notice” from

WENN on or about November 13, 2015; (c) receipt of the subpoena from BGP in the Tennessee




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Lawsuit on or about September 25, 2017; (d) filing of the Complaint against certain of the Stations

in the District of Delaware, Case No. 1:18-cv-01720 on October 31, 2018; (e) filing of the

Complaint against certain of the Stations in the District of Maryland, Northern Division, Case

No. 1:18-cv-03384 on October 31. 2018; (f) filing of the Complaint against certain of the Stations

in the District of Nevada, Case No. 2:18-cv-02096 on November 1, 2018; (g) filing of the

Complaint against SBG in the District of Maryland, Northern Division, Case No. 1:18-cv-03403

on November 2. 2018; and (h) in response to BGP’s First Request Set of Interrogatories and

BGP’s First Request for the Production of Documents, served on December 31, 2018.

              SBG’s organization structure with respect to the groups involved in the

reproduction, public display and distribution of the Images and the Infringing Materials, and the

identity of SBG’s employees with knowledge relating thereto.

              Ownership and control of each of the servers on which the Images and the

Infringing Materials were stored, including the identity of the owner during the period

commencing when the Images were initially reproduced onto the servers through the present and

the identity of the owner during the period commencing when the Infringing Materials were

initially created and stored on the servers through the present, and who had access to each of the

servers to add, modify or delete the Images and/or the Infringing Materials.

              SBG’s reproduction, public display, distribution and use of Images in any way,

including, without limitation, who reproduced the Images onto SBG’s servers and when, who

created the pages on the websites incorporating the Images and when, when the pages

incorporating the Images were available for access and display, when such pages were altered

and by whom, and when those pages were no longer available for access and display.




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              SBG’s decision to adopt, use, reproduce, publicly display, and distribute Images in

connection with the Infringing Materials, including without limitation, on or in connection with

SBG or Stations’ websites.

              SBG’s involvement in reproducing, distributing, or otherwise making available the

Images to the Stations, including, without limitation, who distributed the Images to the Stations

and when such distribution was done.

              SBG’s reproduction, public display or distribution of Images within SBG.

              Any license or alleged licensed, whether oral or written, granted to SBG relating to

the Images, including SBG’s rights to grant sub-licenses to any Images and the scope of such

rights, any restrictions on the use of the Images communicated to SBG, and any steps taken by

SBG to comply with any such restrictions or conditions.

              All internal communications within SBG or external communications between

SBG and any third party, including WENN, relating to the maintenance, reproduction, display,

distribution, making available, modification, alteration, exploitation or use of the Images,

including, without limitation, any applicable restrictions.

              All contracts and/or agreements between SBG and any third-party relating to

licenses or sublicenses of the Images, including implied licenses and alleged confirmatory sub-

license agreements.

              SBG’s corporate policies, guidelines or general practices concerning copyrighted

or copyrightable works, the use of copyrighted works by SBG, responding to kill notices or third

party complaints of copyright infringement relating to images posted on any of its affiliated

stations, and SBG’s compliance therewith.




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              SBG’s corporate policies, guidelines or general practices concerning reproducing,

displaying, distributing or otherwise making images (including, without limitation, the Images)

available to others, including the Stations, and the monitoring or review of the uses by these other

parties.

              Agreements, including agreements in which SBG is a party, relating to Images.

              All communications and/or decisions relating to the use of the Images in connection

with the Infringing Materials.

              All Gross Receipts derived from the use or exploitation of the Infringing Materials,

including, without limitation, Gross Receipts received from third parties for the right to advertise

on websites owned or controlled by SBG or any of the Stations during the time the Infringing

Materials were displayed publicly, and how such amounts are calculated.

              All net receipts derived from the use or exploitation of the Infringing Materials,

including, without limitation, net receipts received from third parties for the right to advertise on

websites owned or controlled by SBG or any of the Stations during the time the Infringing

Materials were displayed publicly, and how such amounts are calculated.

              All costs incurred by SBG and/or the Stations in connection with the use or

exploitation of the Infringing Materials, including, without limitation, costs incurred from the

advertisements on websites owned or controlled by SBG or any of the Stations during the time the

Infringing Materials were displayed publicly, and how such amounts are calculated.

              All profits derived from the use or exploitation of the Infringing Materials,

including, without limitation, profits derived from third parties for the right to advertise on

websites owned or controlled by SBG or any of the Stations during the time the Infringing

Materials were displayed publicly, and how such amounts are calculated.



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              SBG’s creation, design and posting of Infringing Materials, including the location

and identity of individuals involved with SBG and/or Stations in this activity.

              Documents and Communications pertaining to the selection, licensing, payment,

use or infringement of each of the Images.

              Documents and Communications with BGP concerning the selection, licensing,

payment, use or infringement of each of the Images.

              Documents and Communications with WENN concerning the selection, licensing,

payment, use or infringement of each of the Images.

              Communications and Documents between or among SBG and the Stations

regarding BGP’s claims, including, without limitation, any requests that the Stations cease using

the Images and/or Infringing Materials.

              Communications and Documents between or among SBG and the Stations relating

to the Images, including Communications and Documents relating to the use of the Images and/or

the substitution or replacement of the Images on the Infringing Materials.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the above and foregoing document was served by

electronic mail on this 17th day of July, 2019 on Defendants’ following counsel of record:

       Francis R. Laws
       flaws@tandllaw.com
       Margaret L. Argent
       margent@tandllaw.com
       Andrew K. O’Connell
       aoconnell@tandllaw.com
       Scott H Marder
       shmarder@tandllaw.com
       THOMAS & LIBOWITZ, PA
       100 Light Street, Suite 1100
       Baltimore, Maryland 21202


                                                    /s/     Herbert Nacion
                                                            Herbert Nacion




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                Exhibit B
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                Exhibit C
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                                                                   Robert E. Allen
                                                                   Partner
                                                                   Pierce Bainbridge Beck Price & Hecht LLP
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                                                                   Los Angeles, CA 90071
                                                                   rallen@piercebainbridge.com
                                                                   (213) 516-8351

                                       September 19, 2019

Via email margent@tandllaw.com
Margaret L. Argent
Thomas & Libowitz, P.A.
100 Light Street, Suite 1100
Baltimore, Maryland, 21202-1053

       Re:     Brittney Gobble Photography, LLC v. Sinclair Broadcast Group, Inc., et al.,
               Case No. 1:18-cv-03403-RDB (lead case)

Dear Maggie:

       I write to address several discovery matters.

1. Deposition of Jeffrey Sedlik. Jeff has confirmed that he is available October 29, 2018 in
   Los Angeles.

2. Additional Search Terms and Custodians. In accordance with our discussion, I have
   reviewed SBG’s supplemental interrogatory responses related to social media and have
   added those named individuals to the custodian list. Please see the attached revised lists.

3. Follow up Information From Depositions. Scott Marder had agreed to look into the
   following matters from the following depositions:
   a. Kevin Cotlove
        i. The unproduced Cotlove email (Cotlove Dep. at 134:4-11);
       ii. Metadata stripped from Exhibit 18 (id. at 149:1-8);
      iii. Photos not produced (id. at 151:3-10); and
      iv. Photo not produced (id. at 214:7-11).
   b. Dave Bochenek
        i. 2018 Sales, not inclusive of December (Bochenek Dep. at 35:17-36:1); and
       ii. A copy of 2488 (Ex. 42) showing numbers in the last column (id. at 102:2-13).
   c. Matthew Immler
        i.   Copies of Sinclair’s document retention policy, both before and after 2016 (Immler
             Dep. at 23:1-5);

4. Unprepared Witnesses. Sinclair presented witnesses that were not prepared and had
   performed no investigation on topics on which such witness was designated. Accordingly,
   we will need to discuss how best to obtain this information at Sinclair’s expense, including
   through additional depositions.
   a. Mr. Cotlove

                                   BOS | CLE | DC | LA | NY
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Margaret Argent, Esq.
September 19, 2019
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         i. Topic 2 / Topic 11 – Downloading of Images (Cotlove Dep. at 22:16-35:4; 259:9-
            260:2);
        ii. Topic 6 - SBG’s collection, preservation and production of Documents and
            Communications in this case in response to the 2017 subpoena (id. at 249:20-250:1);
       iii. Topic 8 - Actions taken (including investigations) in response to the 2017 subpoena
            (id. at 273:8-274:1); and
       iv. Topic 16 – Communications with WENN related to the Images (id. at 274:11-275:2).
    b. Mr. Immler
         i. Topic 3 - Defendant P&G’s policy, practice and custom with respect to preserving
            and storing Documents and Communications (Immler Dep. at 33:4-34:9);
        ii. Topic 6 - SBG’s collection, preservation and production of Documents and
            Communications in this case. (id. at 42:6-44:21); and
       iii. Topic 7 - Litigation hold notices SBG sent to its employees and other custodians of
            relevant Documents and Communications (id. at 46:4-47:4).

5. Downloading of Images. Topic 11 included SBG’s reproduction of the Images in any way,
   which includes downloading them. SBG designated Kevin Cotlove on this topic. When
   asked how the Images were downloaded on November 9 from WENN using Aileen Graef’s
   account, Mr. Cotlove responded that he did not know. (Cotlove Dep. at 23:9-12). Mr.
   Cotlove was not only speaking for himself but as the 30(b)(6) witness on behalf of SBG.
   However, when Mr. Fantis was asked this question, he acknowledged that he recently
   became aware of how those photos were downloaded. (Fantis Dep. at 23:19-21), but Mr.
   Marder instructed Mr. Fantis not to answer on the grounds that doing so would reveal
   attorney-client privileged information. (id. at 23:22-24:15). Clearly, SBG knows the facts
   concerning how those Images were downloaded that day. It cannot shield that information
   through the attorney-client privilege. Accordingly, unless SBG provides a written
   explanation as to all of the facts surrounding this issue, we intend to move to compel SBG to
   do so.
6. Substantive Changes to Testimony. We are in receipt of Errata sheets for Kevin Cotlove,
   Susan Domozych and Dave Bochenek. These Errata sheets significantly change the
   substance of each of the witness’s testimony, and have done so without providing a valid
   reason in violation of FRCP 30(e)(1). These changes are improper and we intend to move to
   strike each of the Errata sheets with respect to the changes not resulting from a transcription
   error. Please let us know that you are withdrawing each of them as to those changes or
   alternatively your availability to meet and confer prior to our filing a motion to strike.



                                            Sincerely,

                                __________________________
                                       Robert E. Allen




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